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                         XI,     ADDENDUM OF ADDITIONAL REMEDIES

        On April 2, 2021, the United States issued a notice of noncompliance pursuant to Paragraph

178. The purpose of this Addendum is to ensure that the City, by and through its officials, agents,

employees, and bureaus, takes actions to resolve the concerns expressed by the United States in the

noncompliance notice. Specifically, the United States found that the City failed to implement the

following provisions of this Agreement: Section III – Use of Force, Paragraphs 66, 67, 69, 70, and

73; Section IV – Training, Paragraphs 78 and 84; Section VIII – Officer Accountability, Paragraphs

121, 123, and 169; and Section IX – Community Engagement and Creation of Portland Committee

on Community Engaged Policing, Paragraph 150. The City does not admit that the allegations of

noncompliance are true.

        188.    The City shall revise Force Data Collection Report (FDCR) and After Action Report

forms to capture when the forms are edited and completed as part of PPB’s implementation of

Office365, which is ongoing. In the interim, pursuant to a process approved by the United States,

PPB shall capture in the existing FDCR and After Action Report forms the author’s name and the

time and date of initial submission and any subsequent edits, as well as the name, time, and date of

each level of review.

        189.    Before November 25, 2021, the City shall provide funding for a qualified outside

entity to critically assess the City’s response to crowd control events in 2020 in a public-facing report

and prepare a follow-on review of the City’s response to the report. The City will use the report to

prepare a training needs assessment. The report, training needs assessment, and follow-on review

will be completed consistent with a Scope of Work and deadlines agreed upon by the City and the

United States, and such agreement shall not be unreasonably withheld by either Party. If the City

demonstrates to the United States that significant progress is being made toward meeting the

obligations under the agreed upon Scope of Work and deadlines, the City may request a reasonable



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modification of the Scope of Work or extension of deadlines, which the United States shall not

unreasonably decline.

       190.    Before November 25, 2021, the City shall provide in the budget a separate line item

for overtime costs to conduct necessary training for PPB officers. The City shall include a similar

line item in subsequent budgets for the duration of this Agreement.

       191.    Before November 25, 2021, the City shall budget for a qualified civilian in PPB to

direct all educational aspects of PPB’s Training Division alongside the Captain of the Training

Division, who will direct administrative aspects of PPB’s Training Division. The respective roles

and responsibilities of the civilian and the Captain are outlined in Attachment 1 appended to this

Agreement, provided that the Parties may agree to modify those roles and will not unreasonably

withhold such agreement. Once funding is provided, the City shall post the position within 90 days.

Once the position is posted, the City shall make a job offer to a suitable candidate and complete any

required background screenings within 150 days. If the City demonstrates to the United States that

no suitable candidate applied for or accepted the position, or that the City is otherwise making

significant progress toward meeting the deadlines in this Paragraph, the City may request a

reasonable extension of time to fill the position, which the United States shall not unreasonably

withhold.

       192.    Within 60 days of the date this paragraph is entered as an order of the Court, the

City shall initiate an appropriate investigation through IPR to identify: (a) the PPB Lieutenant(s) and

above who trained Rapid Response Team members to believe that they could use force against

individuals during crowd control events without meeting the requirements of PPB Directive

1010.00; (b) the PPB incident commander(s) and designee(s) with the rank of Lieutenant or above

who directed or authorized any officer to use force in violation of PPB Directive 1010.00, or who

failed to ensure that FDCRs and After Action Reports arising from the crowd control events



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starting on May 29, 2020, and ending on November 16, 2020, were completed as required by Section

13.1 of PPB Directive 635.10; and (c) the PPB Commanders and above who failed to timely and

adequately clarify misunderstandings and misapplications of PPB policy (including this Agreement)

governing the use, reporting, and review of force during the crowd control events starting on May

29, 2020, and ending on November 16, 2020. Once the IPR investigation is complete, the Police

Commissioner and/or the Chief of Police, as required by this Agreement, shall hold accountable

those investigated members of the rank of Lieutenant and above who are determined to have

violated PPB policies (including this Agreement) as outlined in this paragraph.

       193.    In addition to the requirements of paragraph 150 of this Agreement, PPB shall

release its Annual Report and hold the required precinct meetings no later than September 20 of

each year for the duration of this Agreement.

       194.    Within 210 days of the date this paragraph is entered as an order of the Court, the

City shall implement body-worn cameras (BWCs) pursuant to a policy that is subject to the policy-

review-and-approval provisions of this Agreement; provided, however, if the City is making

substantial progress this deadline may be extended by agreement of the United States, which shall

not be unreasonably withheld.

               a.      The City will comply with any collective bargaining obligations it may have

                       related to BWCs, which the City agrees to fulfill expeditiously and in

                       compliance with its obligation to bargain in good faith.

               b.      Within 60 days of the date this paragraph is entered as an order of the Court,

                       the Compliance Officer shall gather public input on the use of BWCs and

                       provide this information and any technical assistance to the public and the

                       Parties to inform the drafting of a policy. The United States reserves its




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                       policy review rights related to the BWC program under the terms of this

                       Agreement.

               c.      If the City has not finally discharged its collective bargaining obligations as to

                       BWCs within 120 days of the date this paragraph is entered as an order of

                       the Court, the Parties stipulate that the Court may thereafter hold periodic

                       status conferences every 60 days to receive an update on the procedural

                       status of the collective bargaining process related to BWCs. The City will

                       provide a final procedural status update upon the completion of the

                       collective bargaining process.

               d.      The United States reserves its enforcement rights related to the BWC

                       program under the terms of this Agreement. If collective bargaining or any

                       related arbitration or appeal results in a BWC program that the United States

                       determines, in its sole and absolute discretion, will not adequately resolve the

                       compliance concerns identified in the April 2, 2021 notice of noncompliance,

                       the Parties agree that the United States can seek court enforcement pursuant

                       to paragraph 183, without having to repeat the steps laid out in paragraphs

                       178 to 182.

       195.    In 2020, the City referred to voters a ballot measure that would overhaul the police

accountability system incorporated into this Agreement by establishing a new Community Police

Oversight Board to replace IPR for investigations of certain complaints of police misconduct and to

replace the Chief of Police for imposition of discipline. City voters approved the ballot measure.

The City has since empowered a 20-member civilian Commission to define the duties and authority

of the Oversight Board and submit a proposal to City Council for final approval.




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          a.    Before January 1, 2022, the City Council and Auditor shall each present a

                plan to the United States for an orderly transition to the Community Police

                Oversight Board by ensuring the continuity of IPR operations while the

                Commission develops the Oversight Board for City Council’s approval. The

                United States shall determine whether either of these two plans is acceptable.

                City Council will then adopt a plan that the United States has determined is

                acceptable. The Parties agree that the adopted plan shall be appended to this

                Agreement and will become part of this Order, provided that the Parties may

                agree to modify the plan if warranted by the circumstances. Until the

                Oversight Board becomes operational, the City shall ensure that

                administrative investigations are completed as required by Section VIII –

                Officer Accountability and that officers are held accountable for violating

                PPB policy and procedure as required by Paragraph 169.

          b.    Within 18 months of the date this paragraph is entered as an order of the

                Court, the Commission shall propose to City Council changes to City Code

                to create a new police oversight system as reflected in the City of Portland

                Charter amendment establishing a Community Police Oversight Board.

                Within 60 days of receiving the Commission’s proposal, the City will propose

                amendments to City Code to address the Commission’s proposal, and

                corresponding amendments to this Agreement, subject to the United States’

                and the Court’s approval, to ensure full implementation of the Oversight

                Board and effective police accountability, consistent with the requirements of

                this Agreement. Within 21 days of the approval of the amendments to the

                Agreement by the United States and the Court, the City Council shall



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                consider and vote on the conforming City Code provisions creating the

                Oversight Board. Within 12 months of the Council’s adoption of the City

                Code provisions, the new Oversight Board shall be staffed and operational,

                and IPR shall then cease taking on new work and complete any pending

                work. For good cause shown, the deadlines imposed by this subparagraph

                (b) may be reasonably extended provided that the City is in substantial

                compliance with subparagraph (a).

          c.    The City will comply with any collective bargaining obligations it may have

                related to the Oversight Board, which the City agrees to fulfill expeditiously

                and in compliance with its obligation to bargain in good faith.




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